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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

 MARIO JARAMILLO                                  §
                                                  §
        Plaintiff,                                §
                                                  §
                       v.                         §    Civil Action No.: 5:18-CV-00903-OLG
                                                  §
 SUN WEST MORTGAGE COMPANY,                       §
 INC.                                             §
                                                  §
        Defendant.

                                             NOTICE

       Defendant Sun West Mortgage Company, Inc. (“Sun West”) hereby informs the Court

that, on this same date, it served Plaintiffs with Answers and Responses to the latter’s Sets of

Interrogatories, Requests for Production of Documents, and Requests for Admission.

       WHEREFORE, Sun West respectfully moves the Court to take notice hereof.

       DATED: March 21, 2019

       Respectfully Submitted,

                                                   /s/ Eric A. Pullen
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                                                   – and –

                                                   /s/ Dora L. Monserrate
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                                                 ATTORNEYS FOR DEFENDANT SUN WEST
                                                 MORTGAGE COMPANY, INC.


                                 CERTIFICATE OF SERVICE

       I certify that on the 21st day of March 2019, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system, which will serve all attorneys of record

with a true and faithful copy thereof.




                                                    /s/ Dora L. Monserrate
                                                    Dora L. Monserrate
